           Case MDL No. 2724 Document 518 Filed 12/07/23 Page 1 of 12




                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


                                                                       MDL 2724
 IN RE: GENERIC PHARMACEUTICALS                                       16-MD-2724
 PRICING ANTITRUST LITIGATION




 This document relates to:

 State of Connecticut et al. v. Aurobindo Pharma         No. 2:17-cv-03768 (CMR) (E.D. Pa.)
 USA, Inc., et al.                                       No. 3:16-cv-02056 (VLB) (D. Conn.)

 State of Connecticut et al. v. Teva Pharmaceuticals     No. 2:19-cv-02407 (CMR) (E.D. Pa.)
 USA, Inc., et al.                                       No. 3:19-cv-00710 (MPS) (D. Conn.)

 State of Connecticut et al. v. Sandoz, Inc., et al.     No. 2:20-cv-03539 (CMR) (E.D. Pa.)
                                                         No. 3:20-cv-00802 (SRU) (D. Conn.)


               REASONS WHY ORAL ARGUMENT SHOULD BE HEARD

       Pursuant to Rule 11.1(b) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation, defendants Actavis Elizabeth, LLC, Actavis Holdco U.S., Inc., Actavis

Pharma, Inc., Amneal Pharmaceuticals, Inc., Amneal Pharmaceuticals, LLC, Apotex Corp., Ara

Aprahamian, Aurobindo Pharma U.S.A., Inc., Bausch Health Americas, Inc., Bausch Health US,

LLC, Douglas Boothe, James Brown, Mitchell Blashinsky, Breckenridge Pharmaceutical, Inc.,

Maureen Cavanaugh, Citron Pharma, LLC, Tracy Sullivan DiValerio, Marc Falkin, Dr. Reddy’s

Laboratories Inc., Glenmark Pharmaceuticals Inc., USA, James Grauso, Lannett Company, Inc.,

Kevin Green, Lupin Pharmaceuticals, Inc., Rajiv Malik, Mayne Pharma Inc., Mylan Inc., Mylan

Pharmaceuticals Inc., James Nesta, Michael Perfetto, Perrigo New York Inc., Sandoz Inc.,

Fougera Pharmaceuticals Inc., David Rekenthaler, Richard Rogerson, Teva Pharmaceuticals

USA Inc., Upsher-Smith Laboratories, LLC, John Wesolowski, Wockhardt USA LLC, and
            Case MDL No. 2724 Document 518 Filed 12/07/23 Page 2 of 12




Zydus Pharmaceuticals (USA), Inc. (collectively, the “Undersigned Defendants”) respectfully

submit that oral argument should be heard on their Response in Opposition to the States’ Motion

to Remand (ECF No. 498) (the “Response”).

        First, dispositive issues have not been authoritatively decided.        See R.P.J.P.M.L.

§ 11.1(c)(i). Indeed, the Motion to Remand in this MDL raises new issues compared to the

Motion to Remand the Panel considered in In re Google Digital Advert. Antitrust Litig., MDL

No. 3010, 2023 WL 3828612 (J.P.M.L. June 5, 2023).           These include waiver, procedural

complexities specific to this MDL, and Third Circuit precedent regarding retroactivity which,

unlike in Google, would apply to appellate review here. See Response at 6–19.

        Second, oral argument would significantly aid the Panel’s decisional process, as it will

allow the parties to illuminate the legal and procedural nuances at issue in this case, and to

update the Panel on any developments arising after the filing of the Response. See R.P.J.P.M.L.

§ 11.1(c)(ii).

        For these reasons, the Undersigned Defendants respectfully request that the Panel permit

oral argument on the Undersigned Defendants’ Response in Opposition to the States’ Motion to

Remand.




                                               2
          Case MDL No. 2724 Document 518 Filed 12/07/23 Page 3 of 12




Dated: December 7, 2023



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                                               3
         Case MDL No. 2724 Document 518 Filed 12/07/23 Page 4 of 12




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                                     4
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                                               5
          Case MDL No. 2724 Document 518 Filed 12/07/23 Page 6 of 12




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                                       6
          Case MDL No. 2724 Document 518 Filed 12/07/23 Page 7 of 12




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                                      7
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                                          8
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                                      9
          Case MDL No. 2724 Document 518 Filed 12/07/23 Page 10 of 12




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                                      10
         Case MDL No. 2724 Document 518 Filed 12/07/23 Page 11 of 12




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         Case MDL No. 2724 Document 518 Filed 12/07/23 Page 12 of 12




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                                               12
